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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

____________________________________
                                    )
AMY HARRIS                          )
                                    )
                  Plaintiff,        )
                                    )
v.                                  )
                                    )                Case No. 1:21-cv-03290
U.S. HOUSE SELECT COMMITTEE         )
TO INVESTIGATE THE JANUARY 6TH )
ATTACK ON THE UNITED STATES         )
CAPITOL, et al.,                    )
                                    )
                                    )
                  Defendants.       )
____________________________________)


            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                   PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)

        Federal Rule of Civil Procedure 41(a)(1)(A)(i) provides that “the plaintiff may dismiss

 an action without a court order by filing ... a notice of dismissal before the opposing party

 serves either an answer or a motion for summary judgment.” Plaintiff has been advised that

 the subject subpoena has been withdrawn and that the Defendants will not object to any

 voluntary dismissal pursuant to Rule 41(a).

        Accordingly, Plaintiff Amy Harris hereby dismisses, without prejudice, her action

 against Defendants.
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                                             By her attorneys,

                                             /s/ John D. Seiver

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Dated: December 5, 2022




                                  CERTIFICATE OF SERVICE

       I hereby certify that on December 5, 2022, a copy of the foregoing was filed via the

CM/ECF system for the U.S. District Court for the District of Columbia, which will send

notification to all counsel of record.

                                                     /s/ John D. Seiver
                                                     John D. Seiver




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